                                Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 1 of 16




                  1   Stephen .1. Nutting                                                  FILED
                      Law OTHeo of Stephen J. Nutting                                           Clerk
                  2                                                                        Distiict Court
                      6th Floor Marianas Business Plaza

                  3
                      P.O, Box 5093 Saipan. MP 96950
                      Michael Chen
                      Michael Chen Law Offices
                                                                                          FEB 2 3 3C:4
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                      7330 Hdna Ave.
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                                                                                   fnr t^e >^or.6a(T: Wanana Islands
                      Las Vegas. NV89I17                                           By
                  6   {Fro Hue \'icc I^ending)                                                (Deputy ClerV)

                  7
                      AUonwys for Plaintiff iP! (CNMij LLC



                                               IN HIE UM I ED STATES IMS I KIC I COUK I
                  9

                                                FOR THE NORTHERN MARIANA ISLANDS
                 10


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                 12
                        Imperial Pacific International (CNMl) LLC        Case No.        QL         24-00001
                                       Plaintiff.
                 13                                                      COMPLAINT FOR

                                              Vs,
           X     14
           r\j                                                                1.        LNCONSTITUTIONAI.
           o
           o
                                                                                        IMPAIRMENT OF CONTRACT
     ^     O')
                 15     Commonwealth of the Northern Vlariana
in   O')                                                                                AND \ lOLATION OF THE
15   CO    C\i          Islands. Arnold Palacios. go\’ernor of
^          ^ 16
           CNi
                        CNMI. in his official and personal
                                                                                        CONTRACTS CLAUSE OF
           CD
o                                                                                       THE U.S AND CNMI
                        capacities; Edward C. Deleon Guen'ero.
     CO
     <           17
     O
           TO
           u
                        Chairman of CCC. in his official and
                                                                                        CONSTITUTIONS;
<    UJ
-I   >
                 18                                                           2.        VIOLATION OF THE DUE
                        personal capacities; Rafael S. Demapan.
LU   <                                                                                  PROCESS CLAUSES OF THE
X                       Vice C'hairman of CCC. in his official and
u                19                                                                     U.S. AND CNMI
     <      .           personal capacities; Mariano Taitano,
LU
<    <                  Commissioner of CCC. in his official and                        CONSTITUTIONS;
                 20
X    z                                                                        3.        VIOLA I ION OF AR IICLE IV
O    Q                  personal capacities; Martin Mendiola,
     o           21     Commissioner of CCC. in his official and                        OF CNMI CONSTITTION;
     CO
                                                                              4.        BREACH OF CASINO
                        personal capacities; Ramon M. Dela Cruz.
     CO

                 22                                                                     LICENSE AGREEMENT
                        Commissioner of CCC. in his official and
                                                                                        DECLARATOR\ RELIEF,
                 23     personal capacities; Andrew Yeom.
                                                                                        INJUNCTION .VND
                        Kxecuti\ e Director of CCC. in his official
                 24                                                                     RESTFI rUION.
                        and personal capacities;
                 25                                                      DE.MAND FOR JURY TRIAL
                                       Defendants.
                 26


                 27


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                                                                  COMPLAINT                                            -L
                                    Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 2 of 16




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                   2
                               !.        Plaintiff. Imperial Pacific International (CNMI), LLC; (hereinafter referred to
                   3
                       as ‘'IPf'), by and through its undersigned counsels, as and for its complaint against
                   4
                       Commonwealth of the Northern Mariana Islands (“CNMI”), Arnold Palacios, governor of
                   5
                       CNMI. in his official and personal capacities; Edward C. Deleon Guerrero. Chairman of CNMI
                   6
                       Commonwealth Casino Commission (“CCC”), in his official and personal capacities; Rafael S.
                   7
                       Demapan, Vice Chairman of CCC. in his official and personal capacities; Mariano Taitano.
                   8

                       Commissioner of CCC. in his official and personal capacities; Martin Mcndiola, Commissioner
                   9
                       of CCC, in his official and personal capacities; Ramon M, Dela Cruz. Commissioner of CCC, in
                  10
                       his official and personal capacities; Andrew Yeom, Executive Director of CCC, in his official
                  11
                       and personal capacities; alleges as follows:
                  12
                                                                 JURISDICTION
                  13
                               2.    This Court has jurisdiction over this action pursuant to 28 U.S.C.     1331 (federal
             X    14
            og
            o
            o          question) and 1367 (supplemental), and 42 U.S.C. ^ 1983.
            og
                  15
            CJ)
LU    CT)
      CO    C\i
                                                                       VENUE
U
L2.   >     CD    16
            CM
LU    Z
o     CO
            UD                 3.    Venue is proper in the federal district court for the Northern Mariana Islands in that
      <     (TJ   17
      O
      LJj
            u
                       Defendants reside and do business in this District, including business related to the claims
-I    >
                  18
Z     ^
LU
I
      <t
                       asserted herein, 28 U.S.C. Section 1391 (b) (1). the events on which the claims are based
o     ^           19
      >
[d <                   occurred in this District, 28 U.S.C. Section 1391(b) (2), and the property which is the subject of
<     <           20
X     z
O     Q                this action is located in this District. 28 U.S.C. Section 1391 (b) (2).
      o           21
      CO
      CO                                               IDENTIFICATION OF PARTIES
                  22
                              4.     Plaintiff IPI is a limited liability company organized under the law of the
                  23
                       Commonwealth of the Northern Mariana Islands, with its principal place of business at PMB 895
                  24
                       Box 10001, Saipan. 96950, Northern Mariana Islands. Its sole member is Best Sunshine
                  25
                       International Ltd. (BVl). ("hereinafter refened to as "Best Sunshine”). Best Sunshine is a
                  26
                       corporation organized under the law of the British Virgin Islands, with its principal place of
                  27


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                                                                      COMPLAINT                                         -2-
                                     Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 3 of 16




                   1
                       business at P.O Box 957. Offshore Incorporation Centre. Road Town. Tortola, British Virgin
                   2
                       Islands. Best Sunshine is a wholly owned subsidiary of Imperial Pacific International Holdings
                   3
                       Ltd., a publicly traded company on the Hong ICong Stock Exchange and was incoiporatcd under
                   4
                       the laws of Hong Kong, China.
                   5
                               5.     Defendant COMMONWEALTH OF THE NORTHERN MARIANA ISLANDS

                   6
                       {“CNMI”) is a government entity lawfully created by the Covenant to Establish a
                   7
                       Commonwealth of the Noithcm Mariana Islands in Political Union with the United States of
                   8
                       America.

                   9
                               6.     Defendant Arnold Palacios (“Palacios’*) is a United States citizen, residing in
                  10
                       Saipan, CNMI. As of January 22, 2024, defendant Palacios is the Governor of the CNMI.
                  11
                       Defendant Palacios is being sued in his official and individual capacities.
                  12
                               7.     The Commonwealth Casino Commission (“CCC”) is the casino gaming regulatory
                  13
                       agency of the Commonwealth of the Northern Mariana Islands (“CNMI”) government that
            .><   14
            CN
            O          oversees and regulates the activities of the exclusive casino licensee operating in Saipan. CCC
     r-~    O
            ^     15
     O)
            oi
                       was established pursuant to 4 CMC Section 2313 under PL 18-56 on July 11. 2014.
     CO     CM
cj
     >            16
            CM                 8.     Defendant Edward C. Deleon Guerrero (“Guerrero’*), who is a United States citizen,
            to
O    CO
                  17
5 < U       (Z
                       residing in Saipan. CNMI. As of January 22, 2024. Defendant Guerrero is a commissioner and
<    UJ
-I   >
                  18
Z
LU   <                 Chairman of CCC. Defendant Guerrero is being sued in his official and individual capacities.
I
O    LJ-I         19
^ <
  >                            9.     Defendant Rafael S. Demapan (“Demapan”), who is a United States citizen,
<    <            20
I
u
     z
     Q                 residing in Saipan, CNMI. As of January 22, 2024. Defendant Demapan is a commissioner and
=    UJ
                  21
                       Vice Chairman of CCC. Defendant Demapan is being sued in his official and individual
     o
     CO
     CO
     r-~
                  22
                       capacities.
                  23
                               10.    Defendant Mariano Taitano (“Taitano”), who is a United States citizen, residing in
                  24
                       Saipan, CNMI. As of January 22. 2024, Defendant Taitano is a commissioner of CCC.
                  25
                       Defendant Taitano is being sued in his official and individual capacities.
                  26


                  27


                  28



                                                                    COMPLAINT                                           -3-
                                    Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 4 of 16




                  1
                              11.    Defendant Marlin Mendiola {"Mendiola”). who is a United States citizen, residing
                  2
                      in Saipan, CNMI. As of January 22, 2024. Defendant Mendiola is a commissioner of CCC.
                  3
                      Defendant Mendiola is being sued in his official and individual capacities.
                  4
                              12.    Defendant Ramon M. Dcla Cruz (“Cruz"), who is a United Stales citizen, residing
                  5
                      in Saipan. CNMI. As of January 22, 2024, Defendant Ciiiz is a commissioner of CCC. Defendant
                  6
                      Cruz is being sued in his official and individual capacities.
                  7
                              13.    Defendant Andrew Ycom (“Yeom"), who is a United States citizen, residing in
                  8
                      Saipan, CNMI. As of January 22, 2024, Defendant Yeom is the Executive Director of CCC.
                  9
                      Defendant Yeom is being sued in his official and individual capacities.
                 10
                                                        FACTUAL ALLEGATIONS

                 11
                              14.    On or about August 12, 2014. IPl entered into a Casino License Agreement (CLA)
                 12
                      with the Commonwealth Lottery Commission. Sec Exhibit A.
                 13
                              15.    Under Article 33 of the CLA. “[tjhis License Agreement is to be interpreted under
            X    14
           C\l
           o
                      the laws of the Commonwealth of the Northern Mariana       Islands and the exclusive jurisdiction of
     r.-   o
           CN
     r—t
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     ^
     O)
           C7)        the courts thereof."
     00    CM
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     >     CD    16
u.   2     CM                 16.    Under the CLA, among other obligations, IPl would pay $20 million annually to a
           (£)
O    c/^
     <           17
                      Community Benefit Fund. IPI dutifully paid the $20 million contribution to the Community
           (T3
     O     CJ
<    LU
-I   >
                 18
LU
     c/>
     <                Benefit Fund each year prior to 2018.
I           >
CJ   LU          19
     >
     <
                              17.    Under the CLA, among other obligations, IPI would pay a fifteen million dollars
<    <           20
I
o
     z
     Q
                      ($15,000,000.00) annual Casino License Fee. IPI dutifully paid the annual license fee each year
2 CO
  o              21
                      between 2014 and 2019.
     CO

                 22
                              18.    On July 11. 2014, CNMI promulgated Public Law 18-56, which created CCC.
                 23
                      Public Law 18-56 granted certain powers and duties to CCC and it was codified as 4 CMC §
                 24
                      2314.

                 25
                              19.    Under 4 CMC ^ 2314, CCC assumed Judicial functions and has Jurisdiction over
                 26
                      certain cases and controversies, including cases involving the interpretation and adjudication of
                 27
                      the CLA.

                 28


                                                                   COMPLAINT                                           -4-
                                  Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 5 of 16




                 1
                            20.    On December 4, 2015. CNMI promulgated Public Law 19-24. which imposes a new
                 2
                     obligation on IPI to pay CCC an annual “Casino Regulatory Fee” of three million dollars
                 3
                     ($3,000,000.00) on or before October 1 of each year beginning October 1,2015 (‘’Regulatory
                 4
                     Fee Statute”). That fee is due to CCC “regardless of the actual costs incurred by the [CCC].” 4
                 5
                     C.M.C. Section 2309 (a). IPI dutifully paid the Casino Regulatoiy Fee each year from 2015
                 6
                     through 2019.
                 7
                            21.    By the operation of PL 19-24, the funding of CCC is completely originated from the
                 8
                     payment of the annual regulatory fee by IPI and its affiliates. See Exhibit B.
                 9
                            22.    On or about October 28, 2016. CCC issued Commonwealth Casino Commission
                10
                     Rules and Regulation, which is codified as NMIAC § 175 -10.1.
                11
                            23.    Due to a number offeree majeure events and the suspension of the casino license
                12
                     by CCC, IPI has been unable to make the payment for the annual regulatory fee, annual license
                13
                     fees and Community Benefit Fund contribution for a few years.
           X    14
           CN
           O
                            24.    Pursuant toNMIAC § 175 -10.1-601, failure to comply with the requirements set
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     CT)
           cn
                     forth in the CLA is an unsuitable method of operation and a major offense subject to penalty,
     03    CM
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     >     CD   16
           CM
           CD        including but not limited to license revocation.
O CO
                17
5 <S>
  < CJ     fO
                            25.    Pursuant to NMIAC i; 175 -10.1-105. CCC has the "sole authority to amend or
<C   LU
-i   >
                18
LU   <C              revoke the license granted to” IPI for “operating in an unsuitable manner due to violations of
I
y    UJ         19
id <
     >
                     law, breaches of the license or violations of the regulations promulgated by the Commission, as
<    <          20
X
o
     z
     Q               well as any other reason for revocation or termination staled in the License.”
^    UJ
     o          21
     CO                                          2020 CCC ENFORCEMENT ACTIONS
     CO

                22
                            26.    The Executive Director of the CCC initiated five complaints against IPI in 2020.
                23
                     Later consolidated into Enforcement Action 2020-001 (encompassing actions 2020-001 and
                24
                     2020-002) and Enforcement Action 2020-003 (encompassing actions 2020-003. 2020-004 and
                25
                     2020-005), as follows:
                26
                            a.    Complaint 2020-001 included claims for violations of the CLA based on IPFs failure
                27
                                  to make Community Benefit Contributions;
                28


                                                                 COMPLAINT                                            -5-
                                   Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 6 of 16




                  1
                             b.    Complianl 2020-002 included claims for violations of Commonwealth law and the
                  2
                                   CLA based on IPTs failure to pay the Annual License Fee for 2020;
                  3
                             c.    Complaint 2020-003 included claims for violation of a prior CCC order (2020-003)
                  4
                                   requiring IPI to maintain at least $4.2 million in cash or cash equivalents in a bank in
                  5
                                   the CNM! or United States and for IPTs executives to detail the means by which they

                  6
                                   would comply with that order:
                  7
                             d.    Complaint 2020-004 included claims for violations of a prior CCC order (2020-004)
                  8
                                   requiring IPI to pay accounts payable over 89 days old and to certify compliance with
                  9
                                   that order;
                 10
                             e.    Complaint 2020-005 included claims for violation of Commonwealth law and the
                 11
                                   CLA for IPTs failure to pay the Casino Regulatory Fee of $3,150,000.00 for 2020.
                 12
                             27.     On April 22, 2021, the CCC held a hearing on these enforcement actions and issued
                 13
                      Order No: 2021-002. See Exhibit C. In the Order, CCC assumed the Jurisdiction to interj^ret and
           X     14
           CM
           O          adjudicate the claims tiled by the Executive Director of CCC, and made the finding that IPI
     r-    O
           CM
                 15
     CJ)
           (D
           ^
                      violated the CLA.
(J   CO    CM
     >           16
           CM                28.     The Order suspended IPTs gaming license, ordering IPI to pay a total of $18.65
           CD
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I -                   million that it found was due under the CLA's Annual License Fee and Annual Regulatory Fee,
           CTJ
     O     (J
<    LU
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                      and imposing a total of $6.6 million in penalties against IPI. The Order also required IPI to
(J   LU          19
d <
     >
                      comply with previous Orders issued by the CCC.
<    <           20
X    z                       29.     On Nov. 5, 2021. IPI appealed the CCC’s Order in the Superior Court for the
o    Q

     o           21
     CO
     CO
                      Commonwealth of the Northern Mariana Islands, arguing that the CCC's Order was arbitrary,
                 22
                      capricious, an abuse of discretion and otherwise not in accordance with law and unwarranted by
                 23
                      the facts. IPTs primary argument was that the CCC failed to recognize the doctrine of force
                 24
                      majeure despite the presence of the force majeure provision in the CLA and the clear, severe
                 25
                      impact of a force majeure event, the COVID-19 pandemic, on IPI's ability to comply with its
                 26
                      obligations.
                 27


                 28


                                                                    COMPLAINT                                           -6-
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                 1
                             30.    On March 15. 2022. the Superior Court of CNMI affirmed the CCC's order,
                 2
                     applying a very deferential standard of review.
                 3
                             31.    On April 1 1, 2022, IPI appealed the Order issued by the Superior Court of CNMI to
                 4
                     the Supreme Court ofCNMI.
                 5
                             32.    On September 25. 2022. CNMI Supreme Court affinned the trial court's ruling in
                 6
                     part and reversed in part and asked CCC to “decide on a reasonable deadline for IPI to pay” the
                 7
                     annual license fees for 2020 and the following years.
                             33.    On November 30. 2023, CCC issued a “Notice of Payment Deadline” and
                 9
                     determined that a “reasonable deadline” for IPI to pay the S62.010.280.00 is “30 days from
                10
                     receipt of this notice.” Sec Exhibit D.
                11
                                                      2021     ENFORCEMENT ACTIONS

                12
                             34.    On or about September 17, 2021, Andrew Ycom, in his official capacity as
                13
                     Executive Director of CCC. filed five complaints against IPI with CCC.
          X     14
          CN
          o
                        a.   Complaint No. 2021 -001 alleges breach of the CLA by IPI for its failure to pay the
     h-   o
          CM
                15
     CD                      annual license fee for year 2020 under the CLA. See Exhibit E.
     CO   CM
CJ
     >    CD    16
          CM
          CD
                        b.   Complaint No. 2021 -002 alleges that IPI failed to maintain minimum capital
O    CO
     <          17
                             requirements set by CCC. Sec Exhibit F.
          CT3
     O    CJ
<    LU
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Z
LU   <t                 c.   Complaint No. 2021-003 alleges that IPI failed to pay the annual regulatory fee for year
I
(J   LU         19
-j <
   >                         2020. See Exhibit G.
<    <          20
I
u
     z
     Q
                             d.     Complaint No. 2021-004 alleges breach of the CLA by IPI for its failure to pay the
^    LU
                21
                     annual license fee for year 2021 under the CLA. See Exhibit H.
     o
     c^
     c^

                22
                             e.     Complaint No. 2021-005 alleges that IPI failed to pay the annual regulatory fee for
                23
                     year 2021. See Exhibit I.
                24
                             35.    Proceedings for Complaints No. 2021-001 to 2021-005 was stayed since May 23.
                25
                     2022. because the Court issued a TRO. See HCF No. 11 of Case No. 1:22-cv-00007.
                26
                             36.    The stay was later lifted due to the reversal by the United States Court of Appeals
                27
                     for the Ninth Circuit. Sec ECF No. 38-1 of Case 22-16630.

                28



                                                                  COMPLAINT                                           -7-
                                    Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 8 of 16




                  1
                              37.     For case 22-16630. IPI filed a petition for a writ of certiorari with the U.S. Supreme
                  2
                      Court on November 20, 2023. with a case number of 23-522. See ECF No. 59 of Case No. 1:22-
                  3
                      cv-00007. U.S. Supreme Court did not grant the petition for a wait of certiorari.
                  4
                              38.     On or about December 13. 2023, Andrew Yeom. in his official capacity as
                  5
                      Executive Director of CCC filed a motion with CCC and reque.stcd CCC to issue an order setting

                  6
                      a Revocation Hearing for Complaints No. 2021-002 and 2021-003. See Exhibit J.
                  7
                              39.     On December 27, 2023, IPl filed an action before this Court against CCC, with
                  8
                      Case No. 1:23-cv-00016.

                  9
                             40.      On .lanuary 26. 2024. IPI and CCC stipulated to dismiss the case No. 1:23-cv-00016
                 10
                      without prejudice.
                 11
                             41.      Since January 26, 2024, IPI and CCC engaged in active settlement negotiation and
                 12
                      stipulated to postpone the revocation hearing till Februaiy 28, 2024. See Exhibit K.
                 13
                             42.      As of today, despite there is an open discussion between IPI and CNMI. CCC plans
           X     14
           CN
           O          to proceed with the revocation hearing on Febmary 28, 2024 as scheduled. Sec Exhibit L.
     r^    O
           CM
                 15
     cn
           cn
                                              CONSTITUTION AND STATUTORY GROUNDS
     03    CM
(J
     >     CD    16
           CM                43.      The Contracts Clause of the United States Con.stitution (U.S. Const. Ai1. I. Section
           CO
O cn
> <              17
                      lO, cl. I) prohibits any state from passing a “law’ impairing the obligation of contracts.”
           (T3
>    e)    U
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UJ   <
                             44.      Article I, Section I of the CNMI Constitution likewise states that “[n]o law shall be
X ^
O    LJJ         19
     <                made that is a bill of attainder, an ex post facto law, a law impairing the obligation of
<    <           20
X    z                contracts...”
O    o

     o           21
     ro                      45.      Under the Due Process Clause of the Fouitecnlh Amendment to the U.S
     ro
     r--
                 22
                      Constitution, the government shall not deprive any person of property, without due process of
                 23
                      law, or deny to any person the equal protection of the laws.
                 24
                             46.      Article 1. Section 5 of the CNMI Constitution also provides that “No person shall
                 25
                      be deprived of life, liberty or property without due process of law.”
                 26
                             47.      In 1975. the United States and the CNMI entered into the Covenant to Establish a
                 27
                      Commonw'ealth of the Northern Mariana Islands in Political Union with the United States of
                 28


                                                                    COMPLAINT                                           -8-
                                    Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 9 of 16




                  1
                      America {“Covenant”), providing that the CNMI would ha\e Commonwealth status, the
                  2
                      Covenant was signed into law by the U.S. Congress in 1976 and fully implemented in November
                  3
                      1986.

                  4
                              48.    Under Section 501(a) of the Covenant, the Contracts Clause, the Due Process
                  5
                      Clause of the United States Constitution arc applicable to the CNMI.
                  6
                              49.    Article IV. Section 1 of CNMI Constitution vested the judicial power of the
                  7
                      Commonwealth in a judiciary of the Northern Mariana Islands which shall include those trial and
                  8
                      appeals courts established by the legislature under this article.
                  9
                              50.    Article IV, Section II of CNMI Constitution granted the Commonwealth trial court
                 10
                      with original jurisdiction in all cases in equity and in all cases at law which involve land in the
                 11
                      Commonwealth, and in all other civil actions.
                 12
                              51.    42 U.S.C. § 1983 provides that; “Every person who, under color of any statute,
                 13
                      ordinance, regulation, custom, or usage, of any State ... subjects, or causes to be subjected, any
           X     14
           fsi
           o          citizen of the United States or other person within the jurisdiction thereof to the deprivation of
     r-    O
           CNI
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           cn
                      any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the
u    CO    rsj
           ID    16
u.   Z     CM
           <£>
                      party injured in an action at law.”
O CO
  < O 17
5 O        ns
                                                            FIRST CAUSE OF ACTION
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Z    c/5
LU   <                    (Against Defendants for Unconstitutional Inipainiient of the Contracts Clause of the
X    -●
o    yj          19
_i <
   $                                                United States and CNMI Constitutions)
<    <           20
X    z                        52.    Plaintiff incorporates herein by this reference the allegations contained in the
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     o           21
     CO
     CO
                      preceding paragraphs.
                 22
                              53.    Plaintiff hereby seeks declaratory, injunctive and equitable relief to prevent
                 23
                      Defendants from violating and continuing to violate, the Contracts Clauses of the United States
                 24
                      Constitution and CNMI Constitution.
                 25
                              54.    CNMI and IPI had an existing contractual relationship that provides IPI with certain
                 26
                      contractual and property rights to operate a casino in CNMI in exchange for substantial
                 27
                      compensation to CNMI.
                 28


                                                                    COMPLAINT                                           -9-
                                    Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 10 of 16




                  1
                              55.     CNMI and IPI had an cxisling contraclual relationship that provides that the
                  2
                      interpretation of the CLA and the adjudication of disputes arising from the CLA shall be subject
                  3
                      to '■’the exclusive jurisdiction of the courts thereof."
                  4
                              56.     Acting under color of Commonwealth law, Defendants, individually and
                  5
                      collectively, have caused IPI to suffer a substantial deprivation of its contract rights in violation
                  6
                      of the federal and commonwealth constitutions. The Statute. 4 CMC ^2314 gives CCC broad and
                  7
                      sometimes exclusive authority to interpret the CLA and adjudicate disputes arising from the
                  8
                      CLA. which constitutes a substantial and unconstitutional impairment of the CLA.
                  9
                              57.    Commonwealth Casino Commission Rules and Regulation, which is codified as
                 10
                      NMIAC § 175 -10.1, prescribe the detailed rules and procedures to give CCC broad and
                 11
                      sometimes exclusive authority to interpret the CLA and adjudicate disputes arising from the
                 12
                      CLA, which constitutes a substantial and unconstitutional impairment of the CLA.
                 13
                              58.     IPI was and is still required by CCC to participate in proceedings initiated by CCC
            X    14
           CNJ
           o          and heard by CCC to interpret the CLA and adjudicate claims arising from the CLA. The later
     r-^   o
           Os!
                 15
     CJ)
           CD
           ^          imposed regulatory scheme where CCC functions as both an interested party, prosecutor, judge
     CO    Os!
     >     UD    16
           og
           CO         and jury for disputes that was reserved for the exclusive jurisdiction of CNMI courts effectively
O    CO
     <           17
                      nullifies the explicit tenns of the CLA and imposes completely unexpected and new liabilities
           fC
     O     U
<C   LU
-I   >
                 18
Z
UJ ^
   <                  and limitations on the operation of IPI.
o Le             19
_i <
   $                          59.     IPI has incurred and will continue to incur attorney's fees and costs because of
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     z
     Q                these proceedings, in amounts that cannot yet be ascertained, which are recoverable in this action
=    LU
     o           21
     CO
     CO
                      under the provisions of 42 U.S.C. Section 1988 (b).
                 22


                 23
                                                         SECOND CAUSE OF ACTION
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                      (42 U.S.C. ^1983: Ai^ainst Defendant for Violation of the Due Process Clauses of the United
                 25
                                                         States Constitution and CNMI)

                 26
                              60.     Plaintiff incorporates herein by this reference the allegations contained in the
                 27
                      preceding paragraphs.
                 28



                                                                     COMPLAINT                                            10
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                              61.     Plaintiff hereby seeks declaialory. injunctive and equitable relief to prevent
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                      Defendants from violating and continuing to violate the Due Process Clauses in the Fourteenth
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                      Amendment to the United States Constitution, made applicable to CNMI by the Section 501 (a) ^
                  4
                      of the Covenant, as well as Article 1, Section 5 of CNMI Constitution.
                  5
                              62.     The Due Process Clause requires that the decision to deprive a person of a protected
                  6
                      interest be entrusted to an impartial decision maker. This rule applies to both criminal and civil
                  7
                      cases. The Supreme Couit of the United States has explained that the neutrality requirement
                  8
                      helps to guarantee that life, liberty, or property will not be taken on the basis of an erroneous or
                  9
                      distorted conception of the facts or the law and preserves both the appearance and reality of
                 10
                      fairness ... by ensuring that no person will be deprived of his interests in the absence of a
                 11
                      proceeding in which he may present his case with assurance that the arbiter is not predisposed to
                 12
                      find against him.
                 13
                              63.     The Statute. 4 CMC §2314. gives CCC broad and sometimes exclusive authority to
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           C\J
           o          interpret the CLA and adjudicate disputes arising from the CLA. The Statute also gives CCC
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           (NJ
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     CT)
           CD
                      broad policing power to regulate IPI as a casino operator. CCC is acting in a judicial or quasi
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     >     CD    16
           CN
           CD         judicial capacity when interpreting the CLA and adjudicating disputes arising from the CLA.
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                      Defendants have a direct, substantial, arguably personal, pecuniary interest in finding IPI in
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                      violation of the CLA, given the fact that CCC is funded exclusively by the regulatory fees that
^ 3
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   ■5                 arc ordered to be paid by IPI and its affiliates to CCC. Even for matters that are outside the scope
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     Q                of CLA. CCC has a direct, substantial, arguably personal, pecuniary interest in finding IPI in
                 21
                      violation of the Statute, given the fact that the finding of violation would directly result in fines
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                      and penalties payable to CCC. which is the only funding source for CCC.
                 23
                              64.     Commonwealth Casino Commission Rules and Regulation, which is codified as
                 24
                      NMIAC § 175-10.1, prescribe the detailed rules and procedures which give CCC broad and
                 25
                      sometimes exclusive authority to regulate the operations of IPI. Even for matters that are outside
                 26
                      the scope of CLA, CCC has a direct, substantial, arguably personal, pecuniary interest in finding
                 27
                      IPI in violation of the CCC Rules and Regulation, given the fact that the finding of violation
                 28


                                                                    COMPLAINT                                            -11-
                                     Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 12 of 16




                   1
                       would directly result in fines and penalties payable to CCC and give CCC additional leverages
                   2
                       over IPI that were not available to CCC under the CLA.
                   3
                               65.     4 CMC §2314 and NMIAC § 175 -10.1 deprive IPI of due process to have its
                   4
                       claims and defenses heard before a disinterested and impartial arbiter as guaranteed by the Due
                   5
                       Process Clause of the Fourteenth Amendment of the U.S. Constitution and the Constitution of
                   6
                       CNMI.

                   7
                               66,     Acting through CCC, Defendants have demonstrated such predisposed tenancy to
                   8
                       find against IPI in the 2020 enforcement actions. For example:
                   9
                          a) CCC excluded IPI from introducing evidence of force majeure in the 2020 enforcement
                  10
                               actions when "a reasonable mind would not accept its conclusion.*'
                  11
                          b) CCC interpreted the “suspension and revocation proceeding exception to arbitration"
                  12
                               clause in the CLA to achieve an “absurd” result,
                  13
                          c)   CCC determined that thirty days after notification is a “reasonable deadline” for IPI to
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            CN
            o                  come up with S62 million dollars after IPI was ordered to close its business since early
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III   <y>
            o>
            ^
                               2020.
      CO    CM
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            to    16
            CNJ                67.     IPI has incurred and will continue to incur attorney’s fees and costs because of
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      LJJ
            u          these proceedings, in amounts that cannot yet be ascertained, which are recoverable in this action
      >
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      <                under the provisions of 42 U.S.C. Section 1988 (b).
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.T    Z                                                   THIRD CASUE OF ACTIONS
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      CO                 (42 U.S.C. $1983: Against Defendant for Violation of Article IV of CNiVlI Constitution)
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                               68.     “The Commonwealth Constitution provides for a tripartite system of government,"
                  23
                       which “gives rise to the separation of powers doctrine” Marine Revitalization Coip. v. Dep’t of
                  24
                       Land & Natural Res. 2010 MP 18.

                  25
                               69.     Under Article IV of CNMI Constitution, the judicial power of the Commonwealth
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                       shall be vested in the judiciary of the Northern Mariana Islands. The Commonwealth trial court
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                                                                     COMPLAINT                                            -12-
                                     Case 1:24-cv-00001 Document 1 Filed 02/23/24 Page 13 of 16




                   1
                       shall have original jurisdiction in all cases in equity and in all cases at law w'hich involve land in
                   2
                       the Commonwealth, and in all other civil actions.
                   3
                               70.     Commonwealth Casino Commission Rules and Regulation, which is codified as
                   4
                       NMIAC § 175-10.1, prescribe the detailed rules and procedures which give CCC broad and
                   5
                       sometimes exclusive authority to regulate many aspects of the operations of casino operation.
                   6
                               71.     The license revocation and suspension hearings conducted by CCC inevitably
                   7
                       would interpret the laws of CNMI and adjudicate disputes arising out of the CLA, which are
                   8
                       reserved to the judicial branch of CNMI government.
                   9
                               72.     By granting itself the power to adjudicate disputes arising out of the CLA and to
                  10
                       make rulings on issues related to the CLA, NMIAC § 175 -10.1 encroaches upon the judiciary by
                  11
                       exercising those powers that are judicial in character.
                  12
                               73.     IPI suffered and is still suffering harms due to the unconstitutional exercise of
                  13
                       judicial powers by CCC.
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                               74.     IPI has incurred and will continue to incur attorney's fees and costs because of
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MJ    !7>   ^          these proceedings, in amounts that cannot yet be ascertained, which are recoverable in this action
o     CO    CN
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            CN
            CD         under the provisions of 42 U.S.C. Section 1988 (b).
o     CO
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      LD
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            a                                            FOURTH CAUSE OF ACTIONS
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LLI   <C                                 (Against Defendants for Breach of Casino License Agreement)
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                               75.     Plaintiff incoiporates herein by this reference the allegations contained in the
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      Q                preceding paragraphs.
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      CO                       76.     IPI and CNMI entered into the CLA which has a forum selection clause to have
      CO

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                       courts w ithin CNMI to have exclusive jurisdiction to adjudicate all claims arising out of the
                  23
                       CLA.

                  24
                               77.     CNMI breached the CLA by bestowing pow'ers upon CCC to function as a judicial
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                       office to interpret the terms of the CLA and adjudicate issues related to the CLA under the cloak
                  26
                       of "suspension and revocation proceedings."
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                                                                      COMPLAINT                                            -13-
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                  1
                               78.     IPI has fulfilled its obligations under the CLA or is excused from performing such
                  2
                      obligations.
                  3
                               79.     IPI is injured by the breach of the CLA by CNMfi through the operation of CCC
                  4
                      under the direction and management of the Defendants, individually and collectively.
                  5
                               80.     Plaintiff hereby requests declaratory, injunctive and equitable relief pursuant to 28
                  6
                      U.S.C. Section 2201 and Rule 57 of the Federal Rules of Civil Procedure.
                  7
                               81.     Actual controversies have arisen between IPI and Defendants with regard to

                      whether the interpretation of the CLA and adjudication of claims arising out of the CLA by
                  9
                      Defendants violate the terms of the CLA.
                 10
                               82.     CCC's assumption of jurisdiction to function as a judicial or quasi-judicial entity to
                 11
                      interpret the CLA and adjudicate claims arising out of the CLA constitutes a breach of the CLA
                 12
                      and an improper unilateral modification of the CLA.
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                               83.     IPI seeks declaratory relief and a judicial determination, pursuant to 28 U.S.C.
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                      Section 2201 and Rule 57 of the Federal Rules of Civil Procedure:
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           cn
                               (a), that the interpretation of the CLA and adjudication of claims arising out of the CLA
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                               by CCC the is in contravention of the CLA;
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                               (b). the regulatoiy scheme where CCC assumes jurisdiction to decide issues related to the
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                               interpretation of the CLA is unconstitutional;
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     >                                                        PRAYER FOR RELIEF
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     Q                    WHERLFORL, Plaintiff IPI prays for judgment against Defendants, as follows:
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     CO                   1.   For the Court to issue a declaration that the cun'cnt regulatory scheme established by 4
     CO

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                               CMC §2314 and NMIAC § 175 - 10.1. where CCC is not and cannot function as an
                 23
                               impartial decision maker, is unconstitutional;
                 24
                         2.    For the court to issue an injunction that Defendants may not exercise any power granted
                 25
                               by 4 CMC §2314 and NMIAC § 175 -10.1, as long as CCC. as an instrument under the
                 26
                               control of the Defendants, is not and cannot function as an impartial decision maker;
                 27


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                                                                     COMPLAINT                                            -14-
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                 1
                        3.    For the Court to issue an injunction against Defendants preventing the assumption of
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                              Jurisdiction by CCC to inteipret the tenns of CLA and/or to adjudicate claims arising out
                 3
                              of the CLA, including not but limited to Complaints 2021-001.002. 003, 004, and 005;
                 4
                        4.    For the Court to issue a declaration stating that the assumption ofjurisdiction by CCC.
                 5
                              under the direction of the Defendants, to interpret the terms of CLA and/or to adjudicate
                 6
                              claims arising out of the CLA, either standing alone, or in connection with a suspension
                 7
                              or revocation proceeding, or other enforcement actions, as applied to IPl, is
                 8
                              unconstitutional;
                 9
                        5.    For the Court to order Defendants to vacate, nullify any and all adverse administrative
                10
                              decisions against IPI that were based upon the as.sumption ofjurisdiction by CCC to
                11
                              interpret the terms of CLA and/or to adjudicate claims arising out of the CLA, including
                12
                              but not limited to Commission Order No. 2021-002;
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                        6.    For the Court to issue an injunction against Defendants preventing the enforcement of
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           CN
           O                  any CCC Order, including but not limited to Commission Order No. 2021 -002, when
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                              such Orders are the fruits of an unconstitutional regulatory scheme;
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           eg           7.    For all costs of suit incun ed herein;
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                        8.    For reasonable attorney's fees incuned herein;
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                        9.    For such other and funher relief as the Court may deem just and proper.
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                     Dated:
                                                                        Respectfully submitted.
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                21
                                February 23rd, 2024
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     ro
                                Saipan. CNMI                            Bvi.                mg
                22                                                      Stephen Nutting
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                23                                                      6'‘^ Floor Marianas Business PI aza
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                26                                                      Michael Chen Law Offices
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                                                                       COMPLAINT                                        -15-
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                  1
                                                Las Vegas, NV89117
                  2
                                                Pro Hac Vice Pending

                  3                             Attorneys for Plaintiff
                                                IMPERIAL PACIFIC INTERNATIONAL
                  4
                                                (CNMI), LLC
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